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 1                                            THE HONORABLE BRIAN A. TSUCHIDA
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 6
                           UNITED STATES DISTRICT COURT
 7
                          WESTERN DISTRICT OF WASHINGTON
 8                                  AT SEATTLE

 9
      CHRISTOPHER J. HADNAGY, an                No. 2:23-cv-01932-BAT
10    individual; and SOCIAL-ENGINEER,
      LLC, a Pennsylvania limited liability     DEFENDANTS’ MOTION FOR
11    company,                                  SUMMARY JUDGMENT
12                                              Noted For Consideration: March 21,
                          Plaintiffs,           2025
13
            v.                                   ORAL ARGUMENT REQUESTED
14
      JEFF MOSS, an individual; DEF
15    CON COMMUNICATIONS, INC., a
      Washington corporation; and DOES 1-
16
      10; and ROE ENTITIES 1-10,
17    inclusive,

18                        Defendants.

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     DEFENDANTS’ MOTION FOR SUMMARY
                                                                    Perkins Coie LLP
     JUDGMENT – 1 (No. 2:23-cv-01932-BAT)
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 1                                     INTRODUCTION
 2         Jeff Moss is the founder of Def Con Communications, Inc., an organization that
 3   hosts an annual cybersecurity and hacking conference in Las Vegas, Nevada. The
 4   organization’s Code of Conduct prohibits harassment and reserves the right to expel
 5   participants for harassment.
 6         In 2021, Moss was informed that Christopher Hadnagy had committed
 7   shocking acts of harassment against many people over the course of years. The first
 8   woman to raise concerns, Maxie Reynolds, explained that Hadnagy had retaliated
 9   against her after she left his employment by, among other things, pressuring
10   prominent podcasters and other media figures to “drop” her and trashing her
11   reputation in the community. When Def Con confronted Hadnagy, he admitted his
12   actions and claimed only that they were justified. More than a dozen other people
13   then came forward to report, among other things, Hadnagy’s inappropriate fixation
14   on the looks of his female employees and conference attendees and participants;
15   regular outbursts of anger in the workplace and while at the Def Con conference;
16   pattern of insulting employees; design of training exercises that prompted students
17   to ask strangers about things like penis circumcision, breast size, and feminine
18   hygiene products; and brandishing of a switchblade. All of these individuals,
19   including Reynolds, had attended Def Con conferences.
20         After hearing these distressing stories, Def Con banned Hadnagy from its
21   conferences with the following announcement:
22         We received multiple CoC [Code of Conduct] violation reports about a
23         DEF CON village leader, Chris Hadnagy of the SE Village. After
           conversations with the reporting parties and Chris, we are confident
24         that the severity of the transgressions merits a ban from Def Con.
25

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 1   Declaration of Matt Mertens (“Mertens Decl.”) Exhibit 1 (the “Transparency
 2   Report”). Def Con later issued an update to this report (Mertens Decl. Exhibit
 3   2 “Transparency Update”) conveying similar information in similar terms.
 4         Citing the Transparency Report and Transparency Update, Hadnagy
 5   and his company sued Moss and Def Con for defamation. The suit is meritless
 6   for two overarching reasons:
 7         Hadnagy cannot prove the falsity of any statement. A defamation
 8   plaintiff bears the burden of proving that the challenged statement was neither
 9   true nor substantially true. Hadnagy has not come anywhere close to meeting
10   his burden. The undisputed evidence shows beyond any doubt that Def Con
11   received multiple reports of behavior by Hadnagy that violated its Code of
12   Conduct; that Def Con had “conversations with the reporting parties and
13   [Hadnagy]”; and that “the severity of the transgressions merit[ed] a ban from
14   Def Con” under the organization’s own standards, which it had the authority
15   to set in in its sole discretion. Every part of the Transparency Report and
16   related update is true or at least substantially true; there is no evidence to the
17   contrary. Indeed, discovery has only confirmed Hadnagy’s extensive pattern of
18   misbehavior and reinforced the propriety of the ban. On this record, no rational
19   jury could find that defendants made any false statement.
20         Hadnagy cannot prove negligence. Moreover, even if Hadnagy could
21   prove that some part of the challenged statements was not substantially true—
22   which he cannot—he cannot possibly show that defendants were negligent in
23   making them. Hadnagy admitted to retaliating against a female former
24   subordinate (Reynolds) in ways that any reasonable person would find
25   disturbingly vindictive whatever Hadnagy’s purported justifications (many of
26   which Hadnagy has since admitted were based on false assumptions). And the

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 1   Transparency Report and Transparency Update were posted only after more
 2   than a dozen other individuals had come forward to report experiences with
 3   Hadnagy that made them feel uncomfortable, degraded, intimidated, and
 4   afraid. Hadnagy has produced no evidence showing that Defendants knew or
 5   should have known that the reports of severe harassment—made by more than
 6   a dozen people—were false. To the contrary, discovery has confirmed their
 7   truth.
 8                                           *
 9            Hadnagy complains that Def Con’s statements harmed his reputation.
10   But a person earns their reputation, good or bad, through their actions. Here,
11   Hadnagy’s own actions—including, ironically, his ruthless campaign to destroy
12   someone else’s reputation—were his undoing. Defendants cannot be held liable
13   for truthfully reporting Hadnagy’s own misconduct, as truth is an absolute
14   defense to defamation. Paterson v. Little, Brown & Co., 502 F. Supp. 2d 1124,
15   1133 (W.D. Wash. 2007).
16            In the end, Hadnagy has no one to blame but himself. Defendants
17   respectfully request that the Court grant them summary judgment and
18   dismiss this suit.
19                           STATEMENT OF MATERIAL FACTS
20            Unless otherwise noted, the following facts are undisputed.
21            A.    Jeff Moss, Def Con, and the Code of Conduct
22            Jeff Moss is the founder of Def Con, an organization that hosts an annual
23   cybersecurity and hacking conference in Las Vegas. Compl. ¶¶ 2–3. The conferences
24   include speaker presentations, workshops, and contests. Id. ¶¶ 38–41. They also
25   feature breakout sessions, called “villages,” on particular topics. Id. ¶ 40.
26

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 1         Def Con’s Code of Conduct prohibits “harassment,” which includes “deliberate
 2   intimidation and targeting individuals in a manner that makes them feel
 3   uncomfortable, unwelcome, or afraid.” Mertens Decl. Exhibit 3. Def Con reserves the
 4   “right to respond to harassment in the manner [it] deem[s] appropriate, including but
 5   not limited to expulsion without refund and referral to the to the relevant
 6   authorities.” Id.
 7         In 2017, Def Con began to publish transparency reports—i.e., summaries of
 8   every incident that had occurred at the conference each year. The goal was to
 9   discourage inappropriate behavior and to “encourage other conventions to duplicate
10   this reporting and share their data so collectively we can shed some light on the
11   challenge we face in creating more safe and inclusive events.” Id. (typo fixed).
12         B.     Christopher Hadnagy
13         Chris Hadnagy is the founder of Social-Engineer, LLC, a company focused on
14   the “social-engineering” tactics—i.e., manipulation, influence, and deception—that
15   can be used to gain access to a victim’s computer system or personal data. Compl. ¶
16   42. Hadnagy formerly hosted a social-engineering village at Def Con called
17   “SEVillage.” Id. ¶¶ 45–46.
18         Hadnagy is also the founder of the Innocent Lives Foundation (“ILF”), a
19   nonprofit organization involved in identifying child predators online. Mertens Decl.
20   Exhibit 4.
21         C.     Maxie Reynolds’s allegations
22         In January 2020, Hadnagy hired Maxie Reynolds to work at Social-Engineer.
23   Mertens Decl. Exhibit 5 (“Reynolds Dep.”) 15:17–16:24, 19:8–19. Before hiring her,
24   Hadnagy pressed one of her references to confirm she was a real person, asking in a
25   LinkedIn message: “so she is that hot?” Mertens Decl. Exhibit 6 at SE_000405.
26   Written materials unearthed in discovery show that Hadnagy repeatedly described

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 1   Reynolds in similar terms. See Mertens Decl. Exhibit 7 (she’s “so hot it’s dumb”);
 2   Mertens Decl. Exhibit 8 (looks like a “supermodel”); Mertens Decl. Exhibit 9 at
 3   DENIS00000321 (the “hotness of maxie”).
 4         While at the company, Reynolds wrote a book about social engineering.
 5   Hadnagy worked with her to edit each chapter as it was drafted. Mertens Decl.
 6   Exhibit 10 (“Hadnagy Dep.”) at 121:19–123:22.
 7         On August 5, 2021, Reynolds resigned from Social-Engineer. Hadnagy then
 8   took the following actions against her:
 9         •    Made accusations about her book. Hadnagy claimed that two images in the
10              book were from an active ILF case. Hadnagy Dep. 119:13–120:5. Hadnagy
11              called Reynolds’s publisher, who removed the images, and contacted an
12              acquaintance at the FBI. Id. at 125:12–127:25.
13         •    Canceled podcast interviews. Hadnagy pressured the hosts of five
14              prominent podcasts to cancel scheduled conversations with Reynolds; he
15              succeeded in canceling three of them. Id. at 139:1–23.
16         •    Interfered with a potential TV show. Hadnagy pressured the producer of a
17              TV show to “drop her from the show.” Id. at 144:9–146:1. In text messages,
18              Hadnagy claimed the project was illegal, that Reynolds is a liar, and that
19              she’s “dangerous”; he urged the producer to “run the other way with haste.”
20              Mertens Decl. Exhibit 11.
21         •    Disparaged her character. Hadnagy texted Reynolds’s reference: “She is a
22              train wreck. Stole IP. Took work with her. Quit. Lied. Started a
23              competitive company.” Id. Exhibit 6 at SE_000408. Hadnagy later
24              admitted that Reynolds did not take work with her or start a competitive
25              company. Hadnagy Dep. 148:7–152:17.
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 1          On August 23, 2021, Reynolds told Hadnagy’s friend Neil Wyler—a senior
 2   member of Def Con’s staff and also of Black Hat, an organization that hosts a security
 3   conference similar to Def Con’s—about Hadnagy’s actions. Mertens Decl. Exhibit 12;
 4   Reynolds Dep. 77:14–21; Mertens Decl. Exhibit 13 (“Wyler Dep.”) at 39:10–18, 41:19–
 5   42:8. Reynolds also told Wyler that Hadnagy would often explode at people at work.
 6   Wyler Dep. 38:20–24. Wyler later testified that this rang true to him because he had
 7   personally experienced an outburst from Hadnagy at a Def Con conference in which
 8   Hadnagy screamed obscenities at him and called him a pedophile. 1 Id. at 21:5–25:4,
 9   38:25–39:5; id. Hadnagy Dep. 191:2–192:6, 264:14–21.
10          D.     Discussions with Hadnagy
11          On August 25, 2021, Wyler texted Moss about Reynolds’s allegations. Mertens
12   Decl. Exhibit 15. Wyler and Moss spoke via phone that same day; Wyler testified that
13   Moss gave him permission to speak to Hadnagy on behalf of Def Con. Wyler Dep.
14   43:15–44:5.
15          On August 26, 2021, Wyler texted Hadnagy that a former employee had come
16   forward with allegations of harassment. Id. Exhibit 14 at WYLER00000022. Wyler
17   and Hadnagy spoke via telephone that night. Wyler Dep. 50:23–25. Hadnagy began
18   by volunteering half a dozen names for who the former employee might be. Id. at
19   51:1–52:11. After Wyler began to describe the allegations, Hadnagy said, “Okay, it’s
20   Maxie then.” Id. at 52:12–17. At each step of the conversation, Hadnagy confirmed
21   his actions against Reynolds, offering only “yes, but” purported justifications for his
22   conduct. Id. at 55:18–22 and 56:8–16. Hadnagy acknowledged he had called
23   Reynolds’s publisher (id. at 53:4–12); that he was pressuring a TV producer to drop
24   her (id. at 55:22–56:7); and that he had pressured podcast hosts to cancel
25

26   1 Hadnagy believed that Def Con was hosting an after-hours event involving
     strippers in the SE Village event space and was furious about this.
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 1   conversations with her (id. at 56:20–22). Hadnagy confirmed all this in his deposition.
 2   Hadnagy Dep. 194:18–202:24. The conversation ended with Hadnagy agreeing he
 3   would leave Reynolds alone. Wyler Dep. 65:8–25; Mertens Decl. Exhibit 15.
 4          Hadnagy’s stated willingness to leave Reynolds alone lasted less than 72 hours.
 5   On August 30, 2021, Social-Engineer COO Ryan MacDougall texted Reynolds
 6   apropos of nothing, “It must be so hard living so many different lies. I hope you find
 7   true joy someday.” Mertens Decl. Exhibit 16. That same day, someone at Social-
 8   Engineer locked Reynolds out of her personal computer, which she had been using for
 9   work purposes while employed at the company. Wyler Dep. 71:17–73:1. Reynolds
10   reported the text and the lock-out to Wyler, who asked Hadnagy what was going on.
11   Mertens Decl. Exhibit 14 at WYLER00000024. Hadnagy confirmed that MacDougall
12   had sent the text and that Social-Engineer had locked Reynold’s laptop. Id. at
13   WYLER00000027–29.
14          On September 2, 2021, Reynolds contacted Def Con’s “villages@defcon.org”
15   email address to say that she had 15 people willing to tell their stories of harassment
16   and misconduct by an unnamed village leader. Mertens Decl. Exhibit 17. Reynolds
17   asked to set up a video call with all willing participants so they would not have to put
18   their experiences into writing. Id. She wrote that “most people have expressed to me
19   that they fear his retaliation if [their] emails were shown to him.” Id. Def Con
20   scheduled a Zoom call for September 7, 2021. Wyler Dep. 93:24–94:18.
21          E.     The Def Con Zoom call
22          Somewhere between 15 and 20 people attended the call, which lasted about
23   four hours. Reynolds Dep. 94:15–95:5; Wyler Dep. 97:11–15; Mertens Decl. Exhibit
24   18 (“Moss Dep.”) at 137:10–14, 144:24–145:5. The participants shared experiences
25   that Moss contemporaneously described as “[b]rutal stories” of “vengeful” and
26   “abusive” behavior.” Mertens Decl. Exhibit 19. Several participants have testified

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 1   about what they said on the call; Hadnagy has admitted many of their claims, as
 2   indicated below. Hadnagy does not and cannot dispute that Def Con representatives
 3   (including Moss) were on the call and heard the participants’ stories.
 4                 1.      Michelle Fincher
 5          Fincher was Social-Engineer’s former COO and worked for Hadnagy from 2013
 6   until 2017. Mertens Decl. Exhibit 20 (“Fincher Dep.”) at 12:7–10; 28:16–18; 81:6–12.
 7   Fincher testified that “there was almost never a day in my entire four years working
 8   for Hadnagy that I was not either enraged or embarrassed due to something
 9   happening in the company or my interactions with him.” Id. at 15:14–18.
10          Fixation on “hot Asians.” Hadnagy repeatedly referred to Fincher as a “hot
11   Asian,” and he talked about her legs and how she should wear high heels. Fincher
12   Dep. 18:16–19:2. Fincher found this uncomfortable and inappropriate. Id. at 19:11–
13   21:16. Hadnagy “fairly regularly” commented on women he perceived as being “hot
14   Asians.” Id. at 32:24–33:2. For the Def Con village in 2017, Hadnagy overrode his
15   team’s assessment that an applicant was not qualified and selected her for a
16   competition, saying, “She’s hot and she’s Asian. She’s in.” Id. at 29:14–31:16. Fincher
17   was “furious” and thought it was appropriate for Hadnagy to be referring to a very
18   young woman that way. Id. at 31:17–32:23.
19          Bullying employees and anger outbursts. Fincher testified that Hadnagy “was
20   in the habit” of “berating people for various infractions, real or imagined.” Id. at
21   24:10–12. Employees were afraid to take bathroom breaks or get food during the
22   workday because Hadnagy would engage in “public humiliation” of employees who
23   had stepped away from their computers. Id. at 24:13–28:7. Fincher witnessed
24   Hadnagy insulting employees and testified that Hadnagy’s conduct in “essentially
25   screaming at someone over chat in a venue that the entire company can see is pretty
26   inappropriate.” Id. at 38:3–5. Hadnagy bullied an employee into resigning, which

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 1   upset Fincher. Id. at 38:21–39:8. Fincher regularly observed Hadnagy’s anger-related
 2   outbursts and difficulty controlling his anger. Id. at 54:8–19.
 3          Inappropriately sexualized trainings. Fincher and Hadnagy jointly provided
 4   trainings at Black Hat. Id. at 42:13–25. Hadnagy’s trainings included “homework”
 5   assignments that required trainees to ask strangers uncomfortable questions—e.g.,
 6   for women to ask men if they had circumcised penises, and for men to ask women
 7   about their bra size and use of feminine hygiene products. Id. at 45:9–46:6. Fincher
 8   told Hadnagy that she “bitterly” disagreed with these training questions, as she
 9   believed they put women in potentially unsafe situations. Id. at 45:3–46:6 and 48:6–
10   19. Students approached Fincher in “almost every class” she taught to tell her they
11   were uncomfortable with the questions. Id. at 48:20–49:2.
12                 During his deposition, Hadnagy admitted that he referred to Fincher as
13   “the marketing Asian,” Hadnagy Dep. 52:11-22; that his training sessions asked
14   participants to ask questions about things like circumcision, bra size, and feminine
15   hygiene products, id. at 74:14–78:11, 84:1–24, 111:3–113:6; that there were
16   complaints about the questions, id.; and that he yelled at people at Def Con
17   conferences, id. at 264:10–65:11. Further, in response to RFAs, Hadnagy admitted:
18   “female students of the course were asked to try to gain a subject’s private
19   information on numerous topics, including thoughts on circumcision, boxers or briefs,
20   weight control products, birth control choices, and salary.” Mertens Decl. Exhibit 21.
21                 2.      Cat Murdock
22          Murdock worked at Social-Engineer from October 2017 until March 2019.
23   Mertens Decl. Exhibit 22 (“Murdock Dep”) at. 13:16–20.
24          Explosive anger. Murdock testified that the atmosphere at Social-Engineer
25   was that of “walking on eggshells” around Hadnagy; that any little thing could set off
26   him off; and his avatar in the company chat was the Hulk. Murdock Dep. 71:15–25,

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 1   78:11–79:7. One time Murdock was correcting the pronunciation of a Middle Eastern
 2   man’s name, and Hadnagy became so angry he told Murdock to physically get away
 3   because he didn’t know what he was going to do. Id. at 46:5–23. Murdock described
 4   Hadnagy as “scary” in that moment and said she cried in a bathroom afterwards. Id.
 5           Violence and “jokes” of violence. Murdock testified that Hadnagy threw a
 6   phone at her, which she found “intimidating.” Id. at 59:3–60:17. Hadnagy also
 7   regularly “joked” about shanking and throat-punching people, which Murdock found
 8   “definitely uncomfortable.” Id. at 26:17–23; 27:9–13; 32:18–33:6. He would pull out
 9   his switchblade as part of these “jokes.” Id. at 33:7–34:9; 87:13–22. It was “very
10   common” for Hadnagy to pull out his knife and joke about shanking people while
11   attending Def Con. Id. at 91:2–9.
12           Belittling of employees. Hadnagy commonly belittled his employees, referring
13   to them as “stupid,” “dumb,” and “morons.” Id. at 72:1–23. He yelled at every
14   employee at some point. Id. at 74:11–23. Hadnagy’s constant yelling made Murdock
15   feel “definitely unwelcome” and “for sure disrespected.” Id. at 74:1–10.
16                 During his deposition, Hadnagy admitted that he “got very angry at”
17   Murdock. Hadnagy Dep. 200:18–201:24. He also conceded that he owns a
18   switchblade, id. at 16:16–17:5; did not dispute that he had threated to “ball slap” a
19   trainee with the switchblade, id.; and acknowledged that his work avatar is the Hulk,
20   id. at 296:14–297:8. Written communications further confirm Hadnagy’s anger
21   toward Murdock and anger-issues generally. 2
22
     2 See  Mertens Decl. Exhibit 24 (acknowledging in an email to Murdock that his
23
     “language and words were very strong and very harsh” towards her; that he had
24   “freaked out” on her; and that his “reaction was so poor”); Id. Exhibit 25 at 84 (“I was
     harsh with Cat I truly was … I was harsh in times of stress … could I be called a jerk,
25
     yes.”); id. Exhibit 26 (“I screwed up and chewed [Murdock] out bad”); id. Exhibit 27
26   (Murdock “had gotten me really angry many times and I was harsh with her … a bit
     of an Ahole a few times”); id. Exhibits 28 and 29 (“I’ve been a jerk a lot” and describing
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 1                 3.      Jess Levine
 2          Levine worked at Social-Engineer from November 2020 until March 2021;
 3   Hadnagy fired her because Hadnagy was unhappy that she had tweeted about mental
 4   health in the workplace. Mertens Decl. Exhibit 23 (“Levine Dep.”) at 22:14–17; 53:6–
 5   22. 3 While Levine was unable to attend the call, she drafted a statement that
 6   Murdock read to the participants. Murdock Dep. 131:2–9; Levine Dep. 70:17–24.
 7          Inappropriate behavior with a knife. Levine attended a gathering in Hadnagy’s
 8   hotel suit at Def Con in 2017. Levine Dep. 14:6–13. Hadnagy was playing with his
 9   knife; was intoxicated and slurring his words; and was making “jokes” about cutting
10   people with his knife. Id. at 14:21–16:6. Hadnagy brandished his knife and “joked”
11   about cutting people about 10 times in the three days of the conference. Id. at 17:7–
12   12. At other times, Hadnagy brandished his knife while on video calls and at one
13   point angrily stabbed his knife into his desk. Id. at 34:5–35:3. This made Levine feel
14   “scared” and “intimidated.” Id. at 45:12–46:1.
15          Berating Levine and other employees, including his own son. Hadnagy reduced
16   Levine to tears in a conversation in which he said she was a “waste of money”; she
17   had “taken advantage of his kindness”; she was being paid too much; she was a “liar”;
18   and her work or performance was “worthless.” Id. at 36:1–22. Hadnagy was equally
19   withering in his criticisms of his son Colin, who was also a Social-Engineer employee.
20   Id. at 60:17–61:3. Colin “often” confided in Levine about Hadnagy’s degrading
21   comments to him, including that he was an “idiot” and “incompetent.” Id. at 61:4–18.
22

23

24
     himself as “aggro”); id. Exhibit 9 at DENIS00000323 (describing himself as an
25   “asshole”).

26   3Defendants have redacted sensitive, nonessential information from Exhibit 23 in
     accordance with LCR 5(g)(1)(B).
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 1   Levine witnessed Hadnagy calling Colin Hadnagy a “retard,” an “idiot,” and “stupid”
 2   on multiple occasions. Id. at 62:10–63:3.
 3          Unlawfully withholding Levine’s final paycheck. After Hadnagy fired Levine,
 4   Hadnagy withheld her final paycheck based on accusations that she had violated her
 5   employment contract and deleted company data; Levine had done neither. Id. at 57:2–
 6   58:13. Levine had to file a complaint with the North Carolina Department of Labor,
 7   which cited Social-Engineer for violating North Carolina state law by failing to timely
 8   pay Levine her final paycheck. Id. at 58:15–16; Mertens Decl. Exhibit 30.
 9                 During his deposition, Hadnagy admitted to unlawfully withholding
10   Levine’s final check, Hadnagy Dep. 303:9–304:11, and he did not otherwise deny his
11   conduct per Ms. Levine’s testimony.
12          F.     Def Con posts the Transparency Report and Transparency
13                 Update, and Black Hat independently bans Hadnagy.
            Moss testified he believed the assertions against Hadnagy because (among
14
     other things) (1) they were firsthand accounts of people who had worked for him, and
15
     the stories supported one another; (2) on the call with Wyler, Hadnagy had
16
     immediately started volunteering names of former employees when guessing the
17
     identity of the initial complainant; (3) Hadnagy had not denied taking action against
18
     Reynolds and had instead attempted to justify his conduct; (4) Hadnagy did not have
19
     anything substantiating his side of the story, like a police report or lawsuit; and (5)
20
     Wyler had personally experienced Hadnagy’s furious outburst at Def Con. Moss Dep.
21
     167:24–171:25. Wyler likewise found the allegations credible because of the sheer
22
     number of people and the “very clear level of intimidation and just general fear
23
     around Chris and his behavior and what he would do if he knew that they were
24
     talking to us.” Wyler Dep. 120:19–121:5.
25

26

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 1           Between September 8, 2021, and January 9, 2022, Moss and Hadnagy
 2   exchanged messages to try to schedule a call; Hadnagy was not available at the times
 3   Moss offered. Mertens Decl. Exhibit 31. In an message to Moss on January 9, 2022,
 4   Hadnagy reiterated his belief that Reynolds had stolen from him; rhetorically asked
 5   Moss “what do we need to discuss?”; and told Moss that Hadnagy would not bring
 6   SEVillage back to Def Con in 2022. Id. at DEFCON00000152. On January 16, 2022,
 7   Hadnagy emailed Moss and Wyler about different allegations made against him by
 8   people at Black Hat and attempted to refute those allegations. Mertens Decl. Exhibit
 9   32. 4
10           On February 9, 2022, Def Con posted the Transparency Report announcing
11   Hadnagy’s ban as follows:
12           We received multiple CoC [Code of Conduct] violation reports about a
13           DEF CON village leader, Chris Hadnagy of the SE Village. After
             conversations with the reporting parties and Chris, we are confident
14           that the severity of the transgressions merits a ban from Def Con.
15
     Id. Exhibit 1. Other parts of the report not specific to Hadnagy said that ‘‘harassment
16
     encompasses any behavior that makes others feel uncomfortable”; that “[r]epeat
17
     offenders and those who commit more egregious offenses are permanently barred
18
     from our events”; and that “[i]n the case of the most troubling offenses or those who
19
     we feel may represent an ongoing risk to the community, we take the extra step of
20
     naming them publicly.” Id.
21

22

23
     4 In  this email, Hadnagy attacks a former SEVillage competitor, Stephanie
24   Carruthers, as “terrible, unethical, and a liar.” Carruthers had started a competing
     social engineering training at Black Hat. Hadnagy was incensed and complained
25
     about her to Black Hat. He also told his students that her class material was
26   unethical and illegal. Wyler had to intercede with Hadnagy to tell him to stop
     attacking Carruthers. Wyler Dep. 144:21-145:17; Wyler Dep. 148:14-151:8.
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 1          On February 10, 2022, Black Hat independently banned Plaintiff from future
 2   involvement at Black Hat as a trainer or review board member. Declaration of Steve
 3   Wylie (“Wylie Decl.”), ¶ 4 and Ex. A. Black Hat made this decision on its own
 4   investigation, did not rely on Def Con’s investigation, and did not make this decision
 5   based on public reaction to Def Con’s ban of Plaintiff. Id. Black Hat removed Plaintiff
 6   solely based on its own investigation and the pattern of discriminatory and bullying
 7   allegations against Plaintiff. Id. ¶¶ 4–5.
 8          After Hadnagy filed this suit, Def Con posted an update on the litigation. The
 9   January 13, 2023, Transparency Update said, in relevant part:
10          During our investigation we spoke directly with Mr. Hadnagy about
11          claims of his violations of our Code of Conduct. He confirmed his
            behavior, and agreed to stop. Unfortunately, the behavior did not stop.
12
     Mertens Decl. Exhibit 33.
13
            G.     Discovery confirms widespread misconduct by Hadnagy
14
            Discovery in this lawsuit has confirmed that Hadnagy has repeatedly harassed
15
     members of the infosec community. The following facts are only those that are
16
     undisputed, either because Hadnagy has admitted them or because they appear in
17
     written communications that Hadnagy cannot deny.
18
                   1.      Pattern of retaliation and disparagement
19
            Hadnagy continued his retaliation against Reynolds. On February 9, 2022—
20
     the day the Transparency Report was posted—Hadnagy contacted the accrediting
21
     body for the Offensive Security Certified Professional (OSCP) about Reynolds’s
22
     certificate. Mertens Decl. Exhibit 34. He represented that he wanted to verify that “a
23
     student actually has the OSCP for employment verification.” Id. Hadnagy has
24
     admitted that his representation was false and that he was “looking for dirt” on
25
     Reynolds. Hadnagy Dep. 161:14–165:2.
26

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 1          In March 2022, Hadnagy repeatedly emailed a former client of Social-Engineer
 2   to allege that Reynolds had used her sexual allure to induce a male employee of the
 3   client to terminate its contract with Social-Engineer. Mertens Decl. Exhibit 35. The
 4   former client had to tell Hadnagy to stop contacting them and involved their legal
 5   team to make Hadnagy stop. Id.
 6          Hadnagy’s bad-mouthing of Reynolds has also continued. In texts to a
 7   colleague, Hadnagy has described Reynolds as “poison,” Mertens Decl. Exhibit 36;
 8   called her a “psychopath,” Mertens Decl. Exhibit 9; and suggested finding a “hit man”
 9   for her, Mertens Decl. Exhibit 37. He called Reynolds an “awful psycho bitch” in an
10   email to his PR consultant. Mertens Decl. Exhibit 38. And he wrote the following
11   email to a tech journalist:
12          So much data on her, she is a con artist. Her and her “ex” are known for
13          scamming people and stealing money then disappearing. She is pretty
            terrible. Lied about her dad dying. Started a company while on “sick
14          leave” with her ex to compete with us, used corp email to divert contracts
            and sign contracts she had no right to sigh. Actively tried to sabotage
15          employees here, female employees at that, they will testify to it. She,
16          and this is no joke, is a psychopath. Joe Navarro has help me diagnose
            her. It will be an amazing book. She reported me for being into Child
17          Porn. She illegally used pics from an ILF case in her book that I helped
            her write. She left SECOM 3 days before launch and removed my name
18          from the book completely.
19   Mertens Decl. Exhibit 39. Hadnagy has since admitted that Reynolds did not take
20   work from Social-Engineer or start a competing company. Hadnagy Dep. 148:7–
21   152:17. He further admitted that neither he nor Joe Navarro are qualified to diagnose
22   anyone with anything, let alone with psychopathy. Hadnagy Dep. 26:25–29:17.
23          Hadnagy engaged in similar retaliatory behavior toward Murdock and
24   Samantha Gamble, a former ILF employee. After Murdock quit SE, Hadnagy made
25   similar accusations against Murdock, claiming that she had started a competing
26   business. Hadnagy sent her new employer (who was not a competitor, but a client) a

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 1   cease-and-desist letter, despite the fact that the non-compete had already lapsed.
 2   Murdock Dep. 113:6–115:3. He also made disparaging comments about Murdock to
 3   the above tech journalist, calling her a “terrible person.” Mertens Decl. Exhibit 39.
 4   After Gamble quit ILF, Hadnagy tried to get Gamble blacklisted from industry
 5   conferences and her talk at the National Child Protection Task Force Conference
 6   cancelled. Mertens Decl. Exhibit 40 (“Gamble Dep.”) 58:23–61:23. He even emailed a
 7   conference organizer calling Gamble “trash” and “filth.” Gamble Dep. 58:20–62:25;
 8   Mertens Decl. Exhibit 50.
 9                 2.      Collaboration on child-predator “bait” with young
10                         female colleague
            Samantha Gamble begin working at ILF in 2019, when she was 21 years old.
11
     Gamble Dep. 9:10-13, 75:18-20.
12
            Plaintiff regularly commented on Gamble’s appearance, telling her she was
13
     “pretty,” that “watching [her] grow up is like drinking a fine wine,” and after she
14
     gained some weight, that she “filled out and finally looked [her] age.” Id. at 21:2–
15
     22:15; Mertens Decl. Exhibit 41. Plaintiff’s comments on her appearance made
16
     Gamble feel “uncomfortable,” and she thought they were “inappropriate.” Gamble
17
     Dep. 23:4-11. Plaintiff took Gamble alone on an October 2021 business trip, where he
18
     told Gamble he is a “boob guy”; told Gamble about his sexual relationship with his
19
     wife and about his wife’s body; told Gamble that “he doesn’t understand how men like
20
     to fold women into pretzels”; and kissed her on the forehead outside her hotel room.
21
     Id. at 25:5–27:11. Gamble again testified that Plaintiff’s comments and actions were
22
     “uncomfortable” and “inappropriate.” Id. at 26:7–27:11.
23
            As part of a purported “sting” operation, Hadnagy worked with Gamble on
24
     creating “pretexts”—i.e., fake profiles of young girls—as “bait” for potential child
25
     predators. To create the “pretexts,” Hadnagy would talk to Gamble about the physical
26

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 1   characteristics of pre-pubescent girls—their bra size, underwear size, pubic hair, the
 2   age when they start shaving pubic hair, etc. Mertens Decl. Exhibit 42. While Hadnagy
 3   testified that the operation was Gamble’s idea, Hadnagy Dep. 287:20–293:16,,
 4   Gamble testified that it was not her idea, Gamble Dep. 32:17–25, and that the
 5   questions were personal ones about her own experiences that made her
 6   uncomfortable, Gamble Dep. 31:25–32:9. It is undisputed that the operation was “not
 7   something [ILF staff] [could] do as citizens, so th[e] project went nowhere.” Hadnagy
 8   Dep. 287:20–288:5.
 9                 3.      Comments about Asians
10          Plaintiff told an Asian-American colleague that “EVERYONE knows that” he
11   has “Asian FEVER,” adding, “Commie or not they are hot ;)” Mertens Decl. Exhibit
12   43. Hadnagy called his female subordinate “an adorable little Asian teapot.” Mertens
13   Decl. Exhibit 44. He referred to an Asian girl who had won a competition at his village
14   as “the teenage one, that is tiny and small and really cute.” Mertens Decl. Exhibit 45.
15   And when Fincher circulated a video to work colleagues of a woman beatboxing,
16   Hadnagy replied-all: “pretty cool[.] helps that she is a hot Asian;)” Mertens Decl.
17   Exhibit 46. Hadnagy’s own COO—himself an Asian-American man—told Hadnagy to
18   stop the Asian-related commentary back in 2015. Mertens Decl. Exhibit 59 (“Chris,
19   though we joke about it at times, all the Asian comments that come through aren’t
20   the best. It would be a ‘human resources’ issue in other companies.”)
21                 4.      Comments about women’s appearances
22          Hadnagy regularly commented about the attractiveness, or perceived lack
23   thereof, of his former employees, volunteers, and SEVillage contestants. See, e.g.,
24   Mertens Decl. Exhibit 47 (colleague Alethe Denis is “about 150% hotter than
25   Whitney,” referring to Whitney Maxwell, a former SEVillage contestant); Mertens
26   Decl. Exhibit 7 (“Whitney is hot. She is so beautiful”); Mertens Decl. Exhibit 48

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 1   (“Denis Dep.”) 98:5–9, 105:3–13; Mertens Decl. Exhibit 7 (“Rachel is just not and
 2   Stephanie is just not,” referring to Hadnagy’s opinion of the attractiveness of former
 3   SEVillage contestants Rachel Tobac and Stephanie Carruthers) 5 ; Mertens Decl.
 4   Exhibit 49 and Denis Dep. 99:7–19 (“not being a dick but i mean she’s not even as hot
 5   as maxie”, referring to former SEVillage contestant Rachel Tobac); see also Mertens
 6   Decl. Exhibits 51–53; Denis Dep. 97:22–98:9, 110:18–112:2 (calling Tobac a “complete
 7   joke” and “awful” and agreeing that she’s “such a piece of shit”).
 8                 5.      Complaints about Hadnagy’s trainings
 9          Hadnagy has received complaints about his training sessions going back to
10   2015. See Mertens Decl. Exhibit 54 (2015 complaint that the training “forced a
11   subordinate to engage in sexually explicit conversation while at work”); Mertens Decl.
12   Exhibit 55 (2018 complaint that Black Hat trainings were sexualized and violated
13   Black Hat’s code of conduct); Mertens Decl. Exhibit 56 (2021 email where Hadnagy
14   bemoans removing “the underwear homework” from his trainings because “too many
15   snowflakes got upset and called me out for being sexually abusive”).
16          Notably, an attendee of Hadnagy’s 2017 Derby Con training complained about
17   Hadnagy’s repeated references to “hot wheels pornography” (pornography featuring
18   female amputees in wheelchairs); 1970s pornography; the comment “boobs have
19   super powers”; and discussion of “ball-slappping” and “hacking naked.” Declaration
20   of Record Custodian of Security Innovation Ex. A; see also Hadnagy Dep. 11:19–16:15.
21                 6.      DEI Report
22          A DEI assessment of Social-Engineer in May 2022 revealed significant
23   problems with Hadnagy’s leadership. See Mertens Decl. Exhibit 57 at 406. It noted
24   that staff expressed offense at Hadnagy’s communication style and felt disrespected
25

26   5 Defendants have redacted these names because of the nature of Hadnagy’s ad
     hominem attacks against these women.
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 1   and unappreciated; that “upper management tends to be hijacked by their emotions”;
 2   that interviewees reported it was “unsustainable to work with the offensive
 3   treatment in the long-term”; that four female team members had left in the last two
 4   months; and that “jokes of a sexual nature had been heard in the workplace as well
 5   as commentary on employee appearance.” 6 Id. The consultants cautioned that “these
 6   staff perceptions could lead to allegations of hostile work environment and
 7   harassment” and recommended that Hadnagy “implement behavioral changes
 8   reflecting a significant break from past behavior.” Id. at 407 (emphasis added).
 9                                 PROCEDURAL HISTORY
10            In August 2022, Hadnagy and Social-Engineer filed suit in the Eastern District
11   of Pennsylvania. Dkt. 44 at 4. After the suit was dismissed for lack of personal
12   jurisdiction, Plaintiffs refiled in Nevada state court. Id. Defendants removed the
13   action to the District of Nevada and then moved to transfer venue to the Western
14   District of Washington; that motion was granted. Id. at 4–5.
15            In January 2024, Defendants filed a motion to dismiss. The Court granted the
16   motion with respect to all claims except the claim for defamation based on the
17   Transparency Report and Transparency Update. Id. at 12–15, 23. The Court gave
18   Plaintiffs leave to replead certain claims—including an “injurious falsehoods”
19   defamation claim based on allegations related to Black Hat—but Plaintiffs never did.
20   Id. at 15–16, 23; see also Dkt. 53 at 2–3.
21            Months later, Plaintiffs moved to amend the complaint to add a claim for
22   invasion of privacy by false light. Dkt. 49. Plaintiffs’ proposed amended complaint
23   attempted to add new allegations of “defamation by implication.” Dkt. 49-2 at 17–21.
24

25   6 This  feedback was consistent with feedback that Plaintiff’s assistant gave him
     directly on March 9, 2022, in which she told him he could be “a complete raging jerk”;
26   his behavior “absolutely qualifies as abusive in the business world; and his behavior
     “creates the definition of a toxic environment.” Mertens Decl. Exhibit 58.
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 1   In rejecting Plaintiffs’ motion, the Court determined that it would be futile to allow
 2   Plaintiffs to plead “defamation by implication”:
 3          Plaintiffs allege the Transparency Report and Update are defamatory
 4          by implication because third parties on social media “interpreted them
            to mean that there were despicable facts underlying the ban and
 5          Plaintiff Hadnagy was a sexual predator of the worst order” and made
            “assumptions that Plaintiff Hadnagy was a sexual predator.” But the
 6          fact third parties drew a negative conclusion (i.e., that Hadnagy is a
 7          sexual predator) from Def Con’s ban cannot establish a defamation by
            implication claim as a matter of law. Nor can Plaintiffs’ belief that Def
 8          Con should have included additional facts (i.e., clarified that the Code of
            Conduct violations were not sexual in nature) establish a defamation by
 9          implication claim.
10          …
            Nothing in the Transparency Report or Update references or implies
11
            sexual misconduct. Therefore, “assumptions” by third parties or
12          Plaintiffs’ own “conclusions as the pleader” about the Transparency
            Report and Update are insufficient to plead a defamation by implication
13          or false light claim.
14   Dkt. 53 at 10–11 (internal citations omitted). Plaintiffs moved for reconsideration but
15   “[did] not contest [the] Court’s finding that the proposed Defamation by Implication
16   claim [was] unsupported.” Dkt. 56 at 4 n.1.
17                          SUMMARY JUDGMENT STANDARD
18          Summary judgment is required where “there is no genuine dispute as to any
19   material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.
20   P. 56(a). “Where the non-moving party bears the burden of proof at trial, the moving
21   party need only prove that there is an absence of evidence to support the non-moving
22   party’s case.” In re Oracle Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010). “[T]he
23   burden then shifts to the non-moving party to designate specific facts demonstrating
24   the existence of genuine issues for trial.” Id. “This burden is not a light one.” Id. A
25   mere “scintilla of evidence in support of the [non-movant’s] position” is not sufficient,
26   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252, 266 (1986); neither is “some

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 1
     metaphysical doubt as to the material facts,” Matsushita Elec. Indus. Co. v. Zenith
 2
     Radio Corp., 475 U.S. 574, 586, (1986). “Where the record taken as a whole could not
 3
     lead a rational trier of fact to find for the non-moving party, there is no genuine issue
 4
     for trial.” Matsushita, 475 U.S. at 587 (cleaned up).
 5
            “[S]ummary judgment plays a particularly important role in defamation
 6
     actions.” Mohr v. Grant, 153 Wash. 2d 812, 821, 108 P.3d 768 (2005). “Serious
 7
     problems regarding the exercise of free speech and free press guaranteed by the First
 8
     Amendment are raised if unwarranted lawsuits are allowed to proceed to trial. The
 9
     chilling effect of the pendency of such litigation can itself be sufficient to curtail the
10
     exercise of these freedoms.” Mark v. Seattle Times, 96 Wash.2d 473, 486, 635 P.2d
11
     1081 (1981) (cleaned up).
12
                                             ARGUMENT
13
            “When a defendant in a defamation action moves for summary judgment, the
14
     plaintiff has the burden of establishing a prima facie case on all four elements of
15
     defamation: falsity, an unprivileged communication, fault, and damages.” LaMon v.
16
     Butler, 770 P.2d 1027, 1029 (Wash. 1989). “The prima facie case must consist of
17
     specific, material facts, rather than conclusory statements, that would allow a jury to
18
     find that each element of defamation exists.” Id.
19
            Hadnagy has not introduced sufficient evidence to prove either falsity or fault.
20
     Hadnagy’s conduct unequivocally violated the Code of Conduct; Def Con did not
21
     defame Hadnagy by truthfully saying so. And even there were a genuine dispute on
22
     falsity, Def Con was not negligent in making the challenged statements because
23
     Hadnagy admitted he had retaliated against Reynolds and Def Con reasonably
24
     believed the accounts of more than a dozen people describing Hadnagy’s
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 1   inappropriate behavior. Defendants are entitled to summary judgment on Hadnagy’s
 2   defamation claim and dismissal of this lawsuit.
 3   I.     Hadnagy has not proven the falsity of any statement.
 4          “To establish the falsity element of defamation, the plaintiff must show the
 5   offensive statement was ‘provably false.’” Pardee v. Evergreen Shores Beach Club, 13
 6   Wash. App. 2d 1111 (2020). In analyzing a statement for falsity, “the question is not
 7   whether the statement is literally true but, rather, whether the statement is
 8   substantially true,” or whether “the gist of the story, the portion that carries the
 9   ‘sting,’ is true.” Sisley v. Seattle Sch. Dist. No. 1, 286 P.3d 974, 978 (Wash. App. 2012)
10   (cleaned up). “The party claiming defamation bears the burden of proving falsity, and
11   thus bears a burden of production at the summary judgment stage.” Id. (cleaned up).
12   The truth is an absolute defense to a claim of defamation. Paterson, 502 F. Supp. 2d
13   at 1133.
14          Applying these standards here, Hadnagy has not carried his burden of proving
15   the falsity of any challenged statement.
16          A.      The Transparency Report is true and thus not defamatory.
17          The Transparency Report is true and thus not defamatory. For ease of
18   reference, here it is again:
19          We received multiple CoC [Code of Conduct] violation reports about a
            DEF CON village leader, Chris Hadnagy of the SE Village. After
20          conversations with the reporting parties and Chris, we are confident
21          that the severity of the transgressions merits a ban from Def Con.

22   Mertens Decl. Exhibit 1.

23          First, it is indisputably true that Def Con “received multiple [Code of Conduct]

24   violation reports” about Hadnagy.

25          •    Reynolds reported that Hadnagy had retaliated against her by, among

26               other things, making accusations about her book; pressuring podcast hosts

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 1              to cancel scheduled conversations with her; pressuring a TV producer to
 2              drop her from the show; and maligning her character to influential
 3              members of her professional community.
 4          •   Fincher reported that Hadnagy had called her “hot Asian” and “marketing
 5              Asian”; had bullied employees; and had designed training exercises with
 6              questions about circumcision, bra size, and feminine hygiene products,
 7              which multiple participants found uncomfortable and offensive, including
 8              Fincher herself.
 9          •   Murdock reported Hadnagy’s explosive anger in the workplace; comments
10              about Asian women; and brandishing of a switchblade.
11          •   Levine reported Hadnagy’s “jokes” about cutting people with a switchblade;
12              pattern of insulting employees; verbal abuse of his own son; and unlawful
13              withholding of her final paycheck.
14          •   And at least ten other people reported similar experiences on the Zoom call.
15   Hadnagy cannot plausibly claim, let alone prove, that Def Con did not receive
16   multiple Code-of-Conduct reports about Hadnagy.
17          Second, it is true that Def Con “had conversations with the reporting parties
18   and Hadnagy.” There can be no dispute that Def Con had conversations with the
19   reporting parties, of course. Nor is there a genuine dispute of material fact about
20   whether Def Con had conversations with Hadnagy. The undisputed evidence shows
21   that Wyler was a senior staff member at Def Con; Wyler had conversations with
22   Hadnagy that he then relayed to Moss; and Hadnagy sent two emails to Moss directly,
23   in addition to exchanging direct messages with Moss. 7 Hadnagy cannot possibly
24   dispute that Moss, the founder of Def Con, represents Def Con.
25
     7 Wyler Dep. 47:14–49:25 (Hadnagy perceived Wyler as acting on behalf of Def Con
26
     and Black Hat); Mertens Decl. Exhibit 14 at WYLER00000030 and Wyler Dep.
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 1            Further, even if Hadnagy could prove that Def Con did not have any
 2   conversation with him (he cannot), it wouldn’t matter. “[W]here a report contains a
 3   mixture of true and false statements, a false statement (or statements) affects the
 4   ‘sting’ of a report only when ‘significantly greater opprobrium’ results from the report
 5   containing the falsehood than would result from the report without the falsehood.”
 6   Mohr, 108 P.3d at 775; see also Schmalenberg v. Tacoma News, Inc., 943 P.2d 350,
 7   364 (Wash. App. 1997) (“A reasonable person could find that the story was false in
 8   minor respects, but no reasonable person could find that falsity of this minor sort was
 9   a factual cause of damage that would not have occurred anyway, due to the gist of the
10   story being true.”) (footnote omitted). The “sting” of the Transparency Report, to the
11   extent one exists, is that multiple people had reported Hadnagy for serious Code-of-
12   Conduct violations. Whether Def Con had conversations with Hadnagy has no
13   significant effect on the level of “sting.” Nor is the statement about conversations
14   itself “capable of a defamatory meaning.” Ernst Home Ctr., Inc. v. United Food &
15   Com. Workers Int’l Union, AFL-CIO, Loc. 1001, 888 P.2d 1196, 1204 (Wash. App.
16   1995).
17            Third, it is true that Def Con was “confident that the severity of the
18   transgressions merit[ed] a ban from Def Con.” Again, Reynolds reported that
19   Hadnagy had engaged in a vicious campaign of retaliation designed to destroy her
20   career and reputation. And Hadnagy acknowledged that he had, in fact, gone to great
21   lengths to cancel her media engagements and pressure people to drop her because
22   she was supposedly a liar and thief. Def Con representatives then heard the stories
23

24   73:5–16 (Hadnagy refers to Wyler as “mediator” between Social-Engineer and Def
     Con); Wyler Dep. 43:15–44:5 (Moss deputized Wyler to speak to Hadnagy on behalf
25
     of Def Con); Wyler Dep. 84:19–87:4 (Wyler explaining that he is part of “core inner
26   circle of Def Con” and that Hadnagy’s allegation of not having to spoken to anyone
     at Def Con “is a lie flat out”).
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 1   of more than a dozen people on the Zoom call. They reported inappropriate comments
 2   about women and Asians; outbursts of explosive anger; a pattern of insulting
 3   employees; training exercises with painfully uncomfortable and sexualized questions;
 4   intimidating use of a switchblade: the list went on and on. 8 Naturally these
 5   individuals reported feeling “uncomfortable, unwelcome, and afraid”—precisely what
 6   Def Con’s Code of Conduct aims to prevent. See Mertens Decl. Exhibit 1
 7   (“‘Harassment’ encompasses any behavior that makes others feel uncomfortable or
 8   unsafe.”). The information reported to Def Con amply justified its decision to ban
 9   Hadnagy from its conferences and to publicly name him to protect the community.
10   Id. 9
11           Moreover, information revealed in discovery has confirmed the “severity” of
12   Hadnagy’s “transgressions.” Id. It is undisputed that Hadnagy has continued his
13   efforts to malign Reynolds; that Hadnagy made a female subordinate uncomfortable
14   with unsolicited comments about his sexual preferences and his sex life with his wife;
15   that Hadnagy has made numerous comments about women (as hot or not) and about
16   Asians; that Hadnagy has received at least three complaints about his intentionally
17   “uncomfortable” training exercises; and that a DEI report found extensive issues with
18   Hadnagy’s leadership at Social-Engineer.
19

20

21

22   8 See Exhibit A attached for a complete list of the testimony provided to Def Con about

23   Hadnagy intimidating, targeting, and making people feel uncomfortable, unwelcome,
     or afraid.
24
     9 The Transparency Report explains that Def Con staff members “believe we have an
25
     obligation to the community not to provide cover for these individuals to quietly find
26   new and unsuspecting victims elsewhere. When we disclose this information, we do
     so to protect the DEF CON community, not to act as a public trial.” Id.
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 1          In short, the evidence shows that Hadnagy is an unrepentant bully whose
 2   penchant for cruelty is matched only by his appalling treatment of women as sexual
 3   objects. He richly deserves his Def Con ban.
 4          B.     The Transparency Update is true and thus not defamatory.
 5         As with the Transparency Report, each aspect of Transparency Update is true
 6   and thus not defamatory. Again, here it is for ease of reference:
 7          During our investigation we spoke directly with Mr. Hadnagy about
 8          claims of his violations of our Code of Conduct. He confirmed his
            behavior, and agreed to stop. Unfortunately, the behavior did not stop.
 9
     Mertens Decl. Exhibit 33.
10
            First, it is true that Def Con “spoke directly with Mr. Hadnagy about claims of
11
     his violations of [its] Code of Conduct.” Once more, the evidence shows that Wyler
12
     spoke to Hadnagy about the allegations via text and phone call; that Wyler was a
13
     senior staff member at Def Con; that Wyler related the substance of his conversations
14
     to Moss; and that Hadnagy sent two emails to Moss in addition to exchanging direct
15
     messages with him. Def Con thus “spoke” to Hadnagy about the claims. See Speak,
16
     CollinsDictionary.com, https://bit.ly/4gqJTFW (the word “speak” can mean “to utter
17
     words with the ordinary voice” or to otherwise “express or communicate opinions,
18
     feelings, ideas, etc.”). At the very least, this statement is at least substantially true,
19
     and Hadnagy cannot prove otherwise. Moreover, the truth the statement is
20
     immaterial because it doesn’t meaningful affect the alleged “sting” of the
21
     Transparency Update. See Mohr, 108 P.3d at 775.
22

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 1          Second, it is true that Hadnagy “confirmed his behavior.” Again, Hadnagy
 2   confirmed to Wyler (aka “Grifter”) that he had taken numerous retaliatory actions
 3   against Reynolds. The following screenshot is a page from Hadnagy’s deposition
 4   describing the conversation:
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19   Hadnagy Dep. 197:1–25. Moreover, Hadnagy has since reaffirmed, both in his
20   deposition and in response to RFAs, that he took the actions Reynolds complained of.
21   See id. at 125:9–148:16; Mertens Decl. Exhibit 21 at 16–18, 20–23. While Hadnagy
22   has argued that his actions were justified, he has never denied that he did the things
23   Reynold alleged. Further, Hadnagy has admitted that he volunteered the names of
24   other potential claimants on his call with Wyler, which confirmed he was aware of
25   other potential issues. See Hadnagy Dep. 194:18–196:2 (recalling asking “[i]f it was
26   Maxie and Cat. I believe Rachel Tobac was one I asked, Stephanie Carruthers for
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 1   sure, and her husband JC. I think those were the people I mentioned at that time.”).
 2   The challenged statement is thus at least substantially true.
 3          Third, it is true that Hadnagy “agreed to stop”—i.e., to stop taking actions
 4   against Reynolds. There doesn’t appear to be any dispute on that point.
 5

 6

 7

 8

 9   Hadnagy Dep. 220:12–16.

10          Fourth, it is true that “the behavior did not stop.” Shortly after Hadnagy’s

11   conversation with Wyler, Hadnagy reached out to Wyler about “new info.” Mertens

12   Decl. Exhibit 14 at WYLER00000024. Then Hadnagy’s close confidant (Ryan

13   MacDougall) texted Reynolds about her “lies,” and Social-Engineer locked Reynolds

14   out of her laptop. Wyler then texted Hadnagy:

15

16

17

18

19

20   Id.
21          Moreover, by the time Def Con posted the Transparency Report in January
22   2023, Hadnagy had taken further retaliatory action against Reynolds. He had tried
23   to dig up “dirt” on her under false pretenses; had disparaged her to the company
24   Capital Group; had called her an “awful psycho bitch” in an email to his PR
25   consultant; and had described her as a “con artist,” a “psychopath,” and a liar in an
26

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 1   email to a tech journalist. Clearly Hadnagy’s behavior “did not stop.” The statement
 2   is thus at least substantially true.
 3          C.     Def Con’s statements do not imply sexual misconduct,
 4                 but even if they did, the implication would be accurate.
            The Court has already rejected Hadnagy’s “defamation by implication”
 5
     argument—i.e., the notion that the Transparency Report and Transparency Update
 6
     somehow implied that Hadnagy had committed sexual misconduct. See Dkt. 53 at 11
 7
     (“Nothing in the Transparency Report or Update references or implies sexual
 8
     misconduct.”) And Plaintiffs did not move for reconsideration of the Court’s
 9
     determination, so they cannot challenge it now or otherwise attempt to resurrect the
10
     defamation-by-implication argument.
11
            Any such attempt would fail regardless because the evidence shows that
12
     Hadnagy did engage in pervasive sexual misconduct. He regularly objectified and
13
     sexualized his female employees. He shared his sexual interest in Asian women. He
14
     engaged his 21-year-old female employee in conversations about pubic hair for a
15
     purported “sting” operation that would have been illegal. He told that same employee
16
     he was a “boob guy,” talked to her about her body, her attractiveness, and her physical
17
     appearance, and gave her an unwanted kiss on the forehead. He designed training
18
     sessions in which women would ask men about circumcised penises, and men would
19
     ask women about bra sizes and feminine hygiene products. His third-party DEI
20
     consultants confirmed that employees reported commentary about employee
21
     appearance and sexual jokes in the workplace. And that’s just the evidence that is
22
     undisputed. Discovery has unearthed evidence of even more troubling incidents that
23
     Def Con is prepared to present at trial.
24

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 1          Accordingly, any implication about sexual misconduct that could be drawn
 2   from the Transparency Report and Transparency Update would be true, or at least
 3   not provably false.
 4   II.    Hadnagy has not shown negligence.
 5          Even if there were a genuine issue of material fact about the truthfulness of
 6   the challenged statements (there is not), defamation is not a strict liability tort; the
 7   plaintiff must prove fault. When the plaintiff is a private figure, he must prove
 8   negligence—i.e., that “the defendant knew or, in the exercise of reasonable care,
 9   should have known that the statement was false.” Haueter v. Cowles Pub. Co., 811
10   P.2d 231, 236 (Wash. App. 1991); see also Pardee, 13 Wash. App. 2d at *6 (same).
11          Hadnagy has not offered any evidence even suggesting, much less proving, that
12   Def Con knew or should have known that any statement in the Transparency Update
13   or Transparency Report was false. Def Con performed extensive due diligence before
14   posting the statements. When Reynolds first came forward, Def Con discussed her
15   allegations with Hadnagy, who admitted taking the alleged actions. While Hadnagy
16   offered “yes, but” justifications for his behavior, Def Con was rightly skeptical of those
17   justifications based on the facts and circumstances. Moreover, Def Con was entitled
18   to conclude that whatever Hadnagy claimed Reynolds did or didn’t do, nothing could
19   justify his vindictive, mean-spirited, and highly personal campaign against her.
20          Moreover, Reynolds was far from the only accuser. More than a dozen people
21   came forward to share their experiences with Hadnagy and explain how he had made
22   them feel scared, humiliated, and demeaned. Their allegations were incredibly
23   disturbing; they accused Hadnagy of brandishing a switchblade; of violent outbursts
24   of anger; of speaking to employees in a sexualized manner; of fixating on his
25   employees’ race; etc., etc. Moss testified he found the allegations credible because
26   (among other things) they were firsthand accounts of people who had worked for him;

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 1   Hadnagy had volunteered a list of people who he suspected would have issues with
 2   him; and the accounts comported with Wyler’s own personal experience with
 3   Hadnagy. Moss Dep. 167:24–171:25. Wyler likewise found the allegations credible
 4   because of the sheer number of people and the “very clear level of intimidation and
 5   just general fear around Chris and his behavior and what he would do if he knew that
 6   they were talking to us.” Wyler Dep. 120:19–121:5. Indeed, the evidence of
 7   misbehavior was overwhelming.
 8           Further, discovery has confirmed that Def Con was absolutely right about
 9   Hadnagy. At least nine people have provided sworn testimony regarding the
10   substance of the Zoom call and/or their negative personal experiences with Hadnagy.
11   And in his deposition, Hadnagy repeatedly acknowledged that his behavior was
12   inappropriate or, at a minimum, that he could understand why others would find his
13   behavior inappropriate. E.g., Hadnagy Dep. 11:19–13:23 (understood “how some
14   people might find that discussing Hot Wheels porn throughout a class would be
15   inappropriate”); id. at 13:24–14:24 (discussing ‘70s porn during class “would be
16   inappropriate”); id. at 16:16–17:23 (threatening to ball slap someone with a
17   switchblade would be inappropriate “[n]owadays”); id. at 18:4–19:9 (“references to
18   boobs    having   superpowers”      would   be    inappropriate);     id.   at   24:4–25:21
19   (acknowledging “there are people who would be offended” by him calling a former
20   employee “an awful psycho bitch”); id. at 27:18–28:15 (acknowledging that “someone
21   might find it to be inappropriate to refer to someone as a full on psychopath who has
22   not been diagnosed as a psychopath); id. at 31:16–32:15 (in “this day and age,”
23   someone might feel it is inappropriate to refer to a female employee as a beautiful
24   woman); id. at 38:20–39:24 (calling a woman “stupid hot” might be seen as
25   inappropriate); id. at 46:10–47:9 (acknowledging it was “unprofessional to refer to a
26   former contestant as being hot and beautiful”); id. at 53:9–54:6 (saying he would

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 1   change how he spoke about Asians today versus 2012); id. at 67:6–68:16 (calling a
 2   female employee “an adorable little Asian teapot” was inappropriate and
 3   unprofessional); id. at 80:23–81:24 (understands how people could find his training
 4   questions inappropriate).
 5          On this record, no reasonable juror could find that Def Con “knew or should
 6   have known” that any of the statements in the Transparency Report or Transparency
 7   Update were false. The evidence available at the time showed that Hadnagy had
 8   committed multiple, severe acts of harassment, and Hadnagy has offered no evidence
 9   to the contrary even with the benefit of extensive discovery.
10                                           CONCLUSION
11          For the foregoing reasons, Defendants respectfully request that the Court
12   grant summary judgment and dismiss this suit with prejudice.
13
            DATED this 21st day of February 2025.
14

15                                                 PERKINS COIE LLP
16
      I certify that this memorandum contains      s/David A. Perez
17    8,970 words, in compliance with the          David A. Perez
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